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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA

VS.                                                     CRIMINAL NO.: 4:21-cr-82-SA-JMV-2

LAKENDRICK MOTTON



                               ORDER SUBSTITUTING COUNSEL

       The Federal Public Defender has moved for an order substituting counsel in the above-

styled and numbered cause due to a potential conflict of interest. The Office of the Federal Public

Defender contacted Victoria Washington on May 25, 2022, who agreed to be appointed as

counsel to represent this defendant in his cause to eliminate any possibility of a conflict of interest

and Victoria Washington agreed to be substituted as counsel for the defendant.

       Therefore, IT IS HEREBY ORDERED AND ADJUDGED that:

       The Office of the Federal Public Defender is hereby released from the obligation of the

representation of this defendant and any other responsibilities concerning the above-styled and

numbered cause and that Victoria Washington hereby substituted as counsel of record for the

defendant in this cause.

       IT IS SO ORDERED this the 25th day of May, 2022.



                                       /s/ Jane M. Virden
                                       UNITED STATES MAGISTRATE JUDGE
